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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CATHERINE ROBERTS AND
KRISTEN CLEMENTS,

Plaintiffs,
¥. Civil Action No.: 14-cv-03890
CAESARS ENTERTAINMENT, INC.
D/B/A HARRAH’S PHILADELPHIA
AND CPL. JOANNE DRAGOTTA,

Defendants.

DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

Defendant Harrah’s Chester Downs Management Company, LLC d/b/a Harrah’s
Philadelphia Casino & Racetrack (improperly identified as Caesars Entertainment, Inc. d/b/a
Harrah’s Philadelphia) (hereinafter referred to as “Defendant”), hereby submits its Motion to
Dismiss Plaintiffs Catherine Roberts and Kristen Clement’s (“Plaintiffs”) Complaint pursuant to
Fed. R. Civ, P. 12(b)(1) and 12(b)(6). First, Plaintiffs’ claims for malicious prosecution and
wrongful use of civil proceedings should be dismissed because they relate solely to Plaintiffs’
alleged protected union activity. Since the National Labor Relations Board (“NLRB”) is the
exclusive forum for the adjudication of such claims, Plaintiffs’ causes of action are improperly
raised before this Court. Second, Plaintiffs’ claims are preempted by Section 301 of the Labor
Management Relations Act (““LMRA”) because they require an interpretation of Plaintiffs’ union
collective bargaining agreement (“CBA”). Even presuming this Court construes Plaintiffs’
preempted state-law claims to arise under Section 301 of the LMRA, they are subject to
dismissal because they are time-barred, Third, Plaintiffs’ claims fail as a matter of law because

Defendant has a legal obligation to report any theft or suspected theft to the Pennsylvania State

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Police (“PSP”) and to the Pennsylvania Gaming Control! Board (“PGCB”). As such, Defendant’s

report to the PSP and the PGCB cannot constitute a malicious prosecution or a wrongful use of

civil proceedings. For these reasons, Defendant respectfully requests that this Court grant its

Motion and dismiss Plaintiffs’ Complaint against Defendant in its entirety with prejudice.

Dated: September 9, 2014

4840-S1G0-F118, v. |

By:

Respectfully submitted,

JACKSON LEWIS, P.C,

s/ John M._ Nolan

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